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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:06-cr-00027-MP-AK

FREDERICK CHARLES HALL,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 197, Motion to Continue Disposition, filed by

Defendant Frederick Hall. In his motion, Defendant Hall states that he is currently providing

assistance to the Government pursuant to his plea and cooperation agreement. Because of this,

Defendant requests that his sentencing hearing, currently set for January 4, 2008, be

continued. The Government does not object to the requested continuance. Accordingly,

Defendant Hall’s motion is granted, and the sentencing hearing is continued to Wednesday,

February 20, 2008, at 3:00 p.m.


       DONE AND ORDERED this             3rd day of January, 2008


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
